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 9   UNITED STATES OF AMERICA

10                            UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   IN THE MATTER OF THE APPLICATION          CR MISC No. 2:20-MJ-01226
     OF THE UNITED STATES OF AMERICA
13   FOR A SEARCH AND SEIZURE                  GOVERNMENT’S EX PARTE APPLICATION
     WARRANT FOR THE PREMISES KNOWN            FOR FIRST EXTENSION OF TIME WITHIN
14   AND DESCRIBED AS 954 E. 99TH              WHICH TO RETAIN AND SEARCH DIGITAL
     STREET, BROOKLYN, NY 11236 AND            DEVICES; DECLARATION OF SCOTT
15   ANY CLOSED CONTAINERS AND                 PAETTY
     ELECTRONIC DEVICES CONTAINED
16   THEREIN                                   (UNDER SEAL)
17

18         The United States of America, by and through its counsel of
19   record, Assistant United States Attorney Scott Paetty, hereby applies
20   for an order extending by 120 days the time within which the
21   government may retain and search digital devices seized pursuant to a
22   federal search warrant.
23   //
24   //
25   //
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 1        This application is based on the attached declaration of Scott

 2   Paetty and the files and records of this case, including the

 3   underlying search warrant and affidavit in support thereof.

 4   Dated: March 18, 2020               Respectfully submitted,

 5                                       NICOLA T. HANNA
                                         United States Attorney
 6
                                         BRANDON D. FOX
 7                                       Assistant United States Attorney
                                         Chief, Criminal Division
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 9
                                         SCOTT PAETTY
10                                       Assistant United States Attorney

11                                       Attorneys for Applicant
                                         UNITED STATES OF AMERICA
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 1                          DECLARATION OF SCOTT PAETTY
 2        I, Scott Paetty, hereby declare and state:

 3        1.   I am an Assistant United States Attorney assigned to this

 4   investigation for United States Attorney’s Office for the Central

 5   District of California.

 6        2.   This declaration is made in support of a request for an

 7   order permitting the government to retain and search, pursuant to the

 8   terms of the original warrant in this matter, for an additional 120

 9   days, the following digital devices seized pursuant to the warrant

10   described below (the “SUBJECT DIGITAL DEVICES”):

11             a.    Samsung tablet, serial number R22C8010KPT

12             b.    LG tablet, serial number 503CQRN703782

13             c.    Amazon tablet, model SV98LN

14             d.    AT&T sim card 89014104243458231418

15             e.    Gateway desktop computer, serial number

16   DTGDDAA01624102E059200

17             f.    Apple iPhone, serial number 353110101594307

18             g.    Network Video Recorder, home security system,

19   belonging to Okechukwu Nwofor

20             h.    Apple iPhone, Model A1921 belonging to Obinna Nwofor

21             i.    Apple desktop computer, serial number W89210490TF

22             j.    Apple MacBook, serial number C0ZGYH7LDJYC

23             k.    Apple iPad, serial number F9FQU3JKFLMK

24             l.    Apple MacBook, belonging to Okechukwu Nwofor, FBI

25   barcode number E6532810.

26        3.   On December 2, 2019, a Special Agent of the Federal Bureau

27   of Investigation obtained a federal search warrant issued by the

28   Honorable Judge Vera M. Scanlon, United States Magistrate Judge in
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 1   the Eastern District of New York, authorizing the search of 954 E.

 2   99th Street, Brooklyn, New York 11236 (the “SUBJECT PREMISES”).           A

 3   true and accurate copy of the warrant and supporting affidavit is

 4   attached as Exhibit 1.    The warrant, which is incorporated herein by

 5   reference, authorized the seizure of digital devices, to include

 6   desktops, laptops or notebooks, from the SUBJECT PREMISES found on

 7   the person of or in the possession of Okechukwu Nwofor, Obinna Nwofor

 8   or Obiageli Ezeanolue-Nwofor, for a period of 120 days, to allow the

 9   government to search such devices for evidence of violations of Title

10   18, sections 1341 (mail fraud); 1343 (wire fraud); 1344 (bank fraud);

11   1028A (aggravated identity theft); and 1956(h) (conspiracy to engage

12   in money laundering), among other crimes.

13        4.      On December 4, 2019, federal agents executed the warrant

14   and seized 22 total digital devices, including the 12 SUBJECT DIGITAL

15   DEVICES.

16        5.      This is the first request for an extension.       The current

17   deadline by which the government must complete its review of the

18   SUBJECT DIGITAL DEVICES is April 2, 2020.

19        6.      Based on information provided to me by agents assigned to

20   this matter, I understand the following:

21                a.   A complete review for pertinent data has been

22   completed on 10 of the 22 devices that were seized.

23                b.   A review of the SUBJECT DIGITAL DEVICES remains to be

24   completed.    The case agents have conducted a cursory review of the

25   Apple iPhones and iPads listed above and pertinent information to the

26   fraud was identified.    However, the agents encountered technical

27   issues while imaging the iPhone devices, and they were sent to

28   Computer Analysis Response Team (“CART”) and the Regional Computer

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 1   Forensic Lab (“RCFL”) for assistance.       The RCFL had a backlog and

 2   Apple iPhone, serial number 353110101594307, has still not been

 3   imaged and has not been returned to the case agents for review.           CART

 4   was able to image Apple iPhone, Model A1921 belonging to Obinna

 5   Nwofor and the case agents are in the process of reviewing the

 6   contents.

 7                c.   The laptops seized were provided to CART for imaging;

 8   however, there were issues with certain laptops that delayed their

 9   processing and review.    For example, Apple MacBook, serial number

10   C0ZGYH7LDJYC did not have a power cord and the case agents had to

11   purchase one.     Moreover, there are still issues with accessing the

12   computer due to an unknown username and password.         The agents spent

13   additional time identifying the correct password for Apple MacBook,

14   belonging to Okechukwu Nwofor, FBI barcode number E6532810.

15        7.      For the following reasons, the government is requesting an

16   additional 120 days to complete its review of the SUBJECT DIGITAL

17   DEVICES:

18                a.   The forensic review of digital devices is time

19   consuming.    Agents cannot simply turn on computers and review their

20   contents because merely turning on a computer and reviewing its

21   contents changes the data on the computer.        Specialized computer

22   software is therefore needed to ensure that evidence remains in a

23   pristine and usable condition, and is not affected by the review

24   process.    The review also must be conducted by agents who have

25   received specialized training to ensure that the review is done

26   thoroughly and in a forensically sound fashion.         This process takes

27   substantial time.

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 1               b.   More forensic work needs to be done on the SUBJECT

 2   DIGITAL DEVICES.   Taking into consideration the issues described

 3   above, the imaging of these devices by specialized units like CART

 4   and RCFL image will take considerable time.

 5               c.   As described above, there were multiple technical

 6   problems encountered during initial attempts to image the iPhones.

 7   Each iPhone took many hours to complete.         Once the images were

 8   completed, the case agents discovered that not all relevant

 9   information, including text messages, had downloaded.          Therefore,

10   there was significant time spent before ultimately sending the

11   iPhones to CART and RCFL.     RCFL is backlogged and therefore the

12   imaging of the main subject’s phone, OKECHUKWU NWOFOR, is still not

13   complete.

14               d.   During the search warrant period, one target attempted

15   to flee the country.    The case agents had to arrest that defendant

16   and coordinate a proffer that was located in another state.           This

17   caused additional delay in the review of the SUBJECT DIGITAL DEVICES.

18   Furthermore, both case agents also have other large cases that

19   required their attention during the review period thus limiting their

20   available time to review the devices.

21        I declare under penalty of perjury under the laws of the United

22   States of America that the foregoing is true and correct.

23   DATED: March 18, 2020

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25                                              SCOTT PAETTY
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